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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION


 SECURITIES AND EXCHANGE
 COMMISSION,
        Plaintiff,
                 -against-
                                                           Civil Action No.: 5:21-cv-785-XR
 ROBERT J. MUELLER, DEEPROOT FUNDS
 LLC (a/k/a dprt Funds, LLC), AND POLICY
 SERVICES INC.,
             Defendants,
                  -and-
 DEEPROOT TECH LLC, DEEPROOT
 PINBALL LLC, DEEPROOT STUDIOS LLC,
 DEEPROOT SPORTS & ENTERTAINMENT
 LLC, DEEPROOT RE 12621 SILICON DR LLC,
 AND ROBERT J. MUELLER, JEFFREY L.
 MUELLER, AND BELINDA G. BREEN, AS CO-
 TRUSTEES OF THE MB HALE OHANA
 REVOCABLE TRUST,
             Relief Defendants.


    DEFENDANT ROBERT J. MUELLER’S OPPOSED MOTION TO EXTEND THE
             REMAINING PRETRIAL AND TRIAL DEADLINES

TO THE HONORABLE COURT:

       Defendant Robert J. Mueller (“Mueller”) files this Opposed Motion to Extend the

Remaining Pretrial and Trial Deadlines, and in support would respectfully show:

                                            Background

       1.       On February 5, 2024, the Court entered the Sixth Amended Scheduling Order and

set certain pre-trial deadlines and a trial date. The following deadlines remain:

       •     May 17, 2024 – deadline to file a Joint Pretrial Order and any motion in limine;
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        •     May 30, 2024 at 10:30 am – Final Pretrial Conference; and

        •     June 10, 2024 – Jury Trial. (ECF No. 140).

        2.       The Parties have made considerable progress in settlement discussions. Without

disclosing the substance of any of those discussions, it is anticipated that a resolution may be

forthcoming. Mueller hopes to avoid added expense of preparing for trial that will be for naught if

the settlement discussions continue on course and ultimately produce an agreed resolution.

        3.       Additionally, an unexpected scheduling conflict has arisen for Jason Davis, lead

counsel for Muller in this case. Mr. Davis is lead counsel in an election contest case recently set

for a one-week trial on May 20, 2024 in the 143rd Judicial District of Loving County in Cause No.

24-03-1107; Leroy Medlin v. David Landersman. See Exhibit A. Due to the time-sensitive nature

of the relief being sought, Mr. Davis has limited time to prepare for the election contest trial and a

continuance of that trial is not practicable.

        4.       For these combined reasons, counsel for Mueller, therefore, respectfully requests

that the Court extend the remaining deadlines.

        5.       The undersigned counsel for Mueller has conferred with counsel for the SEC, who

stated that the SEC is opposed to the relief requested herein and will be filing an opposition.

                                                 PRAYER

        Defendant Robert J. Mueller respectfully requests that the Court enter an order granting

the extension and extending the pretrial deadlines and trial date for at least 60 days.




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Dated: May 6, 2024.                       Respectfully submitted,


                                          DAVIS & SANTOS, PLLC

                                      By: /s/ Jason M. Davis
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                                          Counsel for Defendant Robert J. Mueller




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                             CERTIFICATE OF CONFERENCE

       I certify that on the 6th day of May 2024, the undersigned counsel for Mueller conferred
with counsel for the SEC, who indicated that they oppose the relief requested herein.

                                                    /s/ Jason Davis
                                                    Jason Davis


                                CERTIFICATE OF SERVICE

        I certify that on the 6th day of May 2024, the foregoing document was electronically filed
with the Clerk of the Court using the CM/ECF system and all counsel of record will receive an
electronic copy via the Court’s CM/ECF system.

                                                    /s/ Jason Davis
                                                    Jason Davis




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